  Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 1 of 23 Page ID
                                    #:2421

  From: gsimas@vgcllp.com
Subject: RE: Diaz, Jr. v. Heredia, et al.: Meet and Confer Re Protective Order
   Date: March 16, 2022 at 7:00 PM
     To: Rajan Dhungana rdhungana@fedpractice.com, Erik Cox ECox@fedpractice.com, Eric Montalvo emontalvo@fedpractice.com,
         Cristina Lagarde clagarde@fedpractice.com
    Cc: James Greeley jgreeley@vgcllp.com, Diyari Vazquez dvazquez@vgcllp.com, Daisy Chung DChung@fedpractice.com,
         Cristina Lagarde clagarde@fedpractice.com


       Rajan,

       Thanks for your draft. Attached is a revised version. I fixed some of the formatting. I also
       revised to conform to the Central District’s form. See
       ADS - Stipulated Protective Order in Word_0.docx (live.com) Please confirm that you
       accept these revisions. If so, please sign and return. We will get it on file. I’m happy to
       discuss any of these changes. They are word for word from the Central District’s form. I
       did keep your numbering system in place (despite it deviating from the form). This
       versions is in tracked changes. In the future, when we send you a document, please do
       the same. Alternatively, please send a redline. That is what professional courtesy
       requires. It saves us both time and energy. Thanks so much!

       Sincerely,

       Gina

       From: Rajan Dhungana <rdhungana@fedpractice.com>
       Sent: Wednesday, March 16, 2022 5:55 PM
       To: gsimas@vgcllp.com; Erik Cox <ECox@fedpractice.com>; Eric Montalvo
       <emontalvo@fedpractice.com>; Cristina Lagarde <clagarde@fedpractice.com>
       Cc: 'James Greeley' <jgreeley@vgcllp.com>; 'Diyari Vazquez' <dvazquez@vgcllp.com>;
       Daisy Chung <DChung@fedpractice.com>; Cristina Lagarde
       <clagarde@fedpractice.com>
       Subject: RE: Diaz, Jr. v. Heredia, et al.: Meet and Confer Re Protective Order

       Good afternoon Counsels,

       Please see attached, our edited version of the stipulated protective order. Please email
       back if you have any changes to the document.

       Sincerely,




       From: gsimas@vgcllp.com <gsimas@vgcllp.com>
       Sent: Tuesday, March 15, 2022 11:12 AM
       To: Erik Cox <ECox@fedpractice.com>; Eric Montalvo <emontalvo@fedpractice.com>;
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 2 of 23 Page ID
                                  #:2422

  To: Erik Cox <ECox@fedpractice.com>; Eric Montalvo <emontalvo@fedpractice.com>;
  Rajan Dhungana <rdhungana@fedpractice.com>; Cristina Lagarde
  <clagarde@fedpractice.com>
  Cc: 'James Greeley' <jgreeley@vgcllp.com>; 'Diyari Vazquez' <dvazquez@vgcllp.com>;
  Daisy Chung <DChung@fedpractice.com>; Cristina Lagarde
  <clagarde@fedpractice.com>
  Subject: RE: Diaz, Jr. v. Heredia, et al.: Meet and Confer Re Protective Order

  Eric and Erik,

  I should add that if we do not hear back from you regarding the Joint Stipulation by COB
  today, we will be forced to bring an ex parte application on this issue. It is imperative that
  the Court be made aware of this issue because we are required to adhere to the Court’s
  scheduling order. We are doing our best to do this, but your failure to respond is making it
  very difficult. I look forward to hearing from you very soon. Thanks again.

  Sincerely,

  Gina

  From: gsimas@vgcllp.com <gsimas@vgcllp.com>
  Sent: Tuesday, March 15, 2022 11:02 AM
  To: 'Erik Cox' <ECox@fedpractice.com>; 'Eric Montalvo' <emontalvo@fedpractice.com>;
  'Rajan Dhungana' <rdhungana@fedpractice.com>; 'Cristina Lagarde'
  <clagarde@fedpractice.com>
  Cc: 'James Greeley' <jgreeley@vgcllp.com>; 'Diyari Vazquez' <dvazquez@vgcllp.com>;
  'Daisy Chung' <DChung@fedpractice.com>; 'Cristina Lagarde'
  <clagarde@fedpractice.com>
  Subject: RE: Diaz, Jr. v. Heredia, et al.: Meet and Confer Re Protective Order

  Eric,

  Thank you for finally responding. We look forward to receiving your comments to the
  Protective Order.

  Additionally, and as we explained in our email yesterday, we need to meet and confer
  regarding the Joint Stipulation immediately. Pursuant to the current Court’s
  Scheduling order, mediation must occur no later than Mary 20, 2022. Mike Young has
  agreed to mediate, but this mediation will not occur until July. Therefore, we must
  continue the pre-trial dates to move forward with our scheduled mediation

  Moreover, pursuant to the current Court’s Scheduling order, we need to designate an
  expert next week. Having just received HBM’s supplemental responses last night and
  have not yet received Heredia’s supplemental responses, we cannot sufficiently review
  this discovery in order to adequately select our expert. Please let me know if you will
  stipulate to continuing the pre-trial and trial dates. If so, I will send you a draft of the
  Joint Stipulation and, thereafter, we can file it with the Court. Thank you.

  Sincerely,

  Gina
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 3 of 23 Page ID
                                  #:2423

  Gina


  From: Erik Cox <ECox@fedpractice.com>
  Sent: Tuesday, March 15, 2022 10:23 AM
  To: gsimas@vgcllp.com; Eric Montalvo <emontalvo@fedpractice.com>; Rajan Dhungana
  <rdhungana@fedpractice.com>; Cristina Lagarde <clagarde@fedpractice.com>
  Cc: 'James Greeley' <jgreeley@vgcllp.com>; 'Diyari Vazquez' <dvazquez@vgcllp.com>;
  Daisy Chung <DChung@fedpractice.com>; Cristina Lagarde
  <clagarde@fedpractice.com>
  Subject: RE: Diaz, Jr. v. Heredia, et al.: Meet and Confer Re Protective Order

  Hi Gina,
  We intend to send you a redline of your draft PO tomorrow. Sincere apologies for the
  delay in getting back to you.
  All the best,
  -Erik

  From: gsimas@vgcllp.com <gsimas@vgcllp.com>
  Sent: Monday, March 14, 2022 2:27 PM
  To: Eric Montalvo <emontalvo@fedpractice.com>; Erik Cox <ECox@fedpractice.com>;
  Rajan Dhungana <rdhungana@fedpractice.com>; Cristina Lagarde
  <clagarde@fedpractice.com>
  Cc: 'James Greeley' <jgreeley@vgcllp.com>; 'Diyari Vazquez' <dvazquez@vgcllp.com>;
  Daisy Chung <DChung@fedpractice.com>; Cristina Lagarde
  <clagarde@fedpractice.com>
  Subject: RE: Diaz, Jr. v. Heredia, et al.: Meet and Confer Re Protective Order

  All,

  For the seventh time, we are following up on this issue. Despite requesting that we meet
  and confer on this issue, you remain radio silent. Notably, we sent you a draft protective
  order nearly six weeks ago, on February 2, 2022. You have provided zero reasons for
  failing to respond. If we do not hear from you, we will file a motion for a protective order
  and request sanctions. Thank you.

  Sincerely,

  Gina

  From: gsimas@vgcllp.com <gsimas@vgcllp.com>
  Sent: Wednesday, March 9, 2022 2:44 PM
  To: 'Eric Montalvo' <emontalvo@fedpractice.com>; 'Erik Cox' <ECox@fedpractice.com>;
  'Rajan Dhungana' <rdhungana@fedpractice.com>; 'Cristina Lagarde'
  <clagarde@fedpractice.com>
  Cc: 'James Greeley' <jgreeley@vgcllp.com>; 'Diyari Vazquez' <dvazquez@vgcllp.com>;
  'Daisy Chung' <DChung@fedpractice.com>; 'Cristina Lagarde'
  <clagarde@fedpractice.com>
  Subject: RE: Diaz, Jr. v. Heredia, et al.: Meet and Confer Re Protective Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 4 of 23 Page ID
                                  #:2424


  All,

  We have yet to receive any response from you regarding the Protective Order. Please
  explain why you have not yet signed it. Do you want to make changes? We need to
  resolve this issue as soon as possible. As such, we would like to meet and confer to
  determine whether Diaz needs to file a motion for a protective order. Please let me know
  when you are available to meet and confer on this issue. Thank you.

  Sincerely,

  Gina


  From: gsimas@vgcllp.com <gsimas@vgcllp.com>
  Sent: Wednesday, February 23, 2022 9:42 AM
  To: 'Eric Montalvo' <emontalvo@fedpractice.com>; 'Erik Cox' <ECox@fedpractice.com>;
  'Rajan Dhungana' <rdhungana@fedpractice.com>
  Cc: 'James Greeley' <jgreeley@vgcllp.com>; 'Diyari Vazquez' <dvazquez@vgcllp.com>;
  'Daisy Chung' <DChung@fedpractice.com>; 'Cristina Lagarde'
  <clagarde@fedpractice.com>
  Subject: RE: Diaz, Jr. v. Heredia, et al.: Protective Order

  Eric, Erik and Rajan,

  For the fourth time, I am following up on the Protective Order. Please let me know
  whether you have any changes to the draft I sent to you three weeks ago. Although I
  sent the draft Protective Order on February 2, 2022, I have yet to receive any response
  from you on this subject. As you know, this case involves information that we want to
  remain confidential. As such, a Protective Order will need to be signed and filed with the
  Court prior to Diaz producing any documents and to any depositions taking place. Please
  let me know if you would like to discuss further. Thanks.

  Sincerely,

  Gina

  From: gsimas@vgcllp.com <gsimas@vgcllp.com>
  Sent: Wednesday, February 9, 2022 3:01 PM
  To: 'Eric Montalvo' <emontalvo@fedpractice.com>; 'Christy Jones' <cjones@vgcllp.com>
  Cc: 'James Greeley' <jgreeley@vgcllp.com>; 'Diyari Vazquez' <dvazquez@vgcllp.com>;
  'Erik Cox' <ECox@fedpractice.com>; 'Daisy Chung' <DChung@fedpractice.com>;
  'Cristina Lagarde' <clagarde@fedpractice.com>; 'Rajan Dhungana'
  <rdhungana@fedpractice.com>; 'gsimas@vgcllp.com' <gsimas@vgcllp.com>
  Subject: RE: Diaz, Jr. v. Heredia, et al.

  Eric,

  We are trying to provide you with available dates. To be clear, we met on the afternoon of
  Thursday, January 27th. On Wednesday, February 2nd, you served a notice, unilaterally
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 5 of 23 Page ID
                                  #:2425

  setting a date in which both Jim Greeley and JoJo are unavailable. I’m sure you
  understand that both JoJo and Jim are extremely busy. So, I am doing my best to
  coordinate their schedules, and thereafter, will provide you with potential dates. As I
  stated in Plaintiff’s objections, JoJo is out of town next week. So, obviously February 16th
  will not work. Rest assured, once I obtain available dates, I will provide them to you.

  Also, I am again following up on the protective order that I sent to you a few weeks ago.
  Please provide comments or sign it. We would like to get this filed. Thanks.

  Finally, I am now working on the Joint Stipulation and hope to send it to you late today or
  early tomorrow. Once you receive the final version, please promptly sign. We will file it
  tomorrow or Friday. We need to reserve a hearing date. To do so, the Court requires us to
  file within two days of reserving this date. For this reason, it is imperative that you sign
  and return within 24 hours. If you have any questions or would like to discuss further,
  please let me know.

  Sincerely,

  Gina

  From: Eric Montalvo <emontalvo@fedpractice.com>
  Sent: Wednesday, February 9, 2022 11:44 AM
  To: Christy Jones <cjones@vgcllp.com>
  Cc: Gina Simas <gsimas@vgcllp.com>; James Greeley <jgreeley@vgcllp.com>; Diyari
  Vazquez <dvazquez@vgcllp.com>; Erik Cox <ECox@fedpractice.com>; Daisy Chung
  <DChung@fedpractice.com>; Cristina Lagarde <clagarde@fedpractice.com>; Rajan
  Dhungana <rdhungana@fedpractice.com>
  Subject: RE: Diaz, Jr. v. Heredia, et al.

  Counsel,

  Instead of providing dates you spent 13 days drafting a five page document. I waited
  seven days after our call and no dates were provided. Dates?

  Cristina – see if the 16th works – there are three counsel so please make sure we get
  dates for each counsels availability so there is no further delay.


  Eric S. Montalvo
  Founding Partner
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 6 of 23 Page ID
                                  #:2426




  Attorney/Client Privileged, Protected and Confidential Communication. Confidentiality / Privilege Notice: This transmission,
  including attachments, is intended solely for the use of the designated recipient(s). This transmission, including attachments, is
  intended solely for the use of the designated recipient(s). This transmission may contain information that is confidential and/or
  privileged and/or otherwise protected from disclosure. If you are not the intended recipient of this e-mail, or the employee or agent
  responsible for delivering such to the intended recipient, you are hereby notified that any use, disclosure or copying of this e-mail and
  any attachments is strictly prohibited. This transmission, including attachments, may be covered by the Electronic Communications
  Privacy Act, 18 U.S.C. § 2510 et seq., and any unlawful interceptions of such may be actionable under 18 U.S.C. § 2520. If you are
  not an intended recipient of this transmission, please immediately destroy all copies received and notify the sender.


  From: Christy Jones <cjones@vgcllp.com>
  Sent: Tuesday, February 08, 2022 10:11 PM
  To: Eric Montalvo <emontalvo@fedpractice.com>
  Cc: Gina Simas <gsimas@vgcllp.com>; James Greeley <jgreeley@vgcllp.com>; Diyari
  Vazquez <dvazquez@vgcllp.com>
  Subject: Diaz, Jr. v. Heredia, et al.

  Mr. Montalvo,

  Enclosed please find the following document served on behalf of Plaintiff Joseph Diaz, Jr.
  in the above-referenced matter:


             · PLAINTIFF’S OBJECTIONS TO NOTICE OF DEPOSITION SUBPOENA
             DUCES TECUM TO JOSEPH

                  DIAZ, JR.; DECLARATION OF GINA SIMAS IN SUPPORT THEREOF

  Thank you,
  Christy


  Christy Jones l Senior Litigation Paralegal




  1515 7th Street, No. 106
  Santa Monica, CA 90401
  www.vgcllp.com

  The contents of this e-mail message and its attachments are intended solely for the addressee(s). This e-mail
  transmission may be confidential and subject to privilege protecting communications between attorneys or
  solicitors and their clients. If you are not the named addressee, or if this message has been addressed to you in
  error, you are directed not to read, disclose, reproduce, distribute, disseminate or otherwise use this
  transmission. Delivery of this message to any person other than the intended recipient(s) is not intended in any
  way to waive privilege or confidentiality. If you have received this transmission in error, please alert the sender
  by reply e-mail; we also request that you immediately delete this message and its
  attachments. UNAUTHORIZED INTERCEPTION PROHIBITED BY FEDERAL LAW (18 U.S.C. 2510-2522).
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 7 of 23 Page ID
                                  #:2427




   2022.03.16 Diaz
   v Here…D.docx
 Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 8 of 23 Page ID
                                   #:2428




 1 James L. Greeley (SBN 218975)
       jgreeley@vgcllp.com
 2
     Diyari Vázquez (SBN 222461)
 3     dvazquez@vgcllp.com
     Gina Simas (SBN 205367)
 4
       gsimas@vgcllp.com
 5   VGC, LLP
     1515 7th Street, No. 106
 6
     Santa Monica, California 90401
 7   Telephone: (424) 272-9885
 8
     Attorneys for Plaintiff, JOSEPH DIAZ, JR.

 9 Rajan O. Dhungana (SBN: 297794)
     rdhungana@fedpractice.com
10 Eric S. Montalvo (Pro Hac Vice)

11 emontalvo@fedpractice.com
     FEDERAL PRACTICE GROUP
12 14481 Aspen Street

13 Hesperia, CA 92344
     Telephone: (310) 795-6905
14 Attorneys for Defendants, Ralph Heredia and Heredia Boxing

15 Management
16

17                            UNITED STATES DISTRICT COURT
18                        CENTRAL DISTRICT OF CALIFORNIA

19                                 EASTERN DISTRICT

20 JOSEPH DIAZ, JR.,                             CASE NO. 5:20-cv-02332-JWH-KK

21               Plaintiff,
                                                 JOINT STIPULATION FOR
22         v.                                    PROTECTIVE ORDER AND
                                                 [PROPOSED] ORDER
   RALPH HEREDIA, true name RAFAEL
23
   HEREDIA TARANGO, a/k/a RAFAEL
24 HEREDIA, a/k/a RAFAEL
25
   BUSTAMANTE; JOHN DOE, ESQ.; and
   JANE DOES 1 through 20, inclusive,            Courtroom:       2
26                                               Judge:           Hon. John W. Holcomb
                 Defendants.
27

28


                                    Joint Stipulation For Protective Order And [Proposed] Order
 Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 9 of 23 Page ID
                                   #:2429




 1   1.     PURPOSES AND LIMITATIONS
 2        Disclosure and discovery activity in this action are likely to involve production
 3 of confidential, proprietary, or private information for which special protection from

 4 public disclosure and from use for any purpose other than prosecuting this litigation
 5 may be warranted. Accordingly, the parties hereby stipulate to and petition the court

 6 to enter the following Stipulated Protective Order. The parties acknowledge that this

 7 Order does not confer blanket protections on all disclosures or responses to discovery

 8 and that the protection it affords from public disclosure and use extends only to the

 9 limited information or items that are entitled to confidential treatment under the

10 applicable legal principles. The parties further acknowledge, as set forth in Section
11 12.3, below, that this Stipulated Protective Order does not entitle them to file

12 confidential information under seal; Civil Local Rule 79-5 sets forth the procedures

13 that must be followed and the standards that will be applied when a party seeks

14 permission from the court to file material under seal.

15        B.       GOOD CAUSE STATEMENT
16          This action is likely to involve confidential medical records, including mental         Formatted: Justified, Indent: First line: 0"


17   health treatment records, certain financial information, and certain confidential
18   business communications, for which special protection from public disclosure, and
19   from use for any purpose other than prosecution of this action, is warranted.
20   Accordingly, to expedite the flow of information, to facilitate the prompt resolution
21   of disputes over confidentiality of discovery materials, to adequately protect
22   information the parties are entitled to keep confidential, to ensure that the parties are
23   permitted reasonable necessary uses of such material in preparation for and in the
24   conduct of trial, to address their handling at the end of the litigation, and to serve the
25   ends of justice, good cause exists for a protective order to protect such information
26   in this matter. Information will not be designated “ CONFIDENTIAL” for tactical
27   reasons. Nothing will be designated “confidential” without a good faith belief that it
28   has been maintained in a confidential, non-public manner, and without a good faith

                                                   1
                                      Joint Stipulation For Protective Order And [Proposed] Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 10 of 23 Page ID
                                   #:2430




 1
     belief that good cause exists as to why it should not be part of the public record of

 2
     this case.

 3   2.    DEFINITIONS
 4          2.1    Challenging Party: a Party or Non-Party that challenges the designation
 5 of information or items under this Order.

 6          2.2    “CONFIDENTIAL” Information or Items: information (regardless of
 7 how it is generated, stored or maintained) or tangible things that qualify for protection

 8 under Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause

 9 Statement.

10          2.3    Counsel (without qualifier): Outside Counsel of Record or House
11 Counsel (in both instances, including their legal and non-legal support staff directly

12 working on this case).

13          2.4    Designating Party: a Party or Non-Party that designates information or
14 items    that it produces in disclosures or in responses to discovery as
15 “CONFIDENTIAL.”

16          2.5    Disclosure or Discovery Material: all items or information, regardless
17 of the medium or manner in which it is generated, stored, or maintained (including,
18 among other things, testimony, transcripts, and tangible things), that are produced or

19 generated in disclosures or responses to discovery in this matter.
20          2.6    Expert: a person with specialized knowledge or experience in a matter
21 pertinent to the litigation who has been retained by a Party or its counsel to serve as an

22 expert witness or as a consultant in this action.

23          2.7    House Counsel: attorneys who are employees of a party to this action.
24 House Counsel does not include Outside Counsel of Record or any other outside
25 counsel.
26          2.8    Non-Party: any natural person, partnership, corporation, association, or
27 other legal entity not named as a Party to this action.

28


                                                  2
                                     Joint Stipulation For Protective Order And [Proposed] Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 11 of 23 Page ID
                                   #:2431




 1          2.9     Outside Counsel of Record: attorneys who are not employees of a party
 2 to this action but are retained to represent or advise a party to this action and have
 3 appeared in this action on behalf of that party or are affiliated with a law firm that has

 4 appeared on behalf of that party, and includes support staff.
 5          2.10 Party: any party to this action, including all of its officers, directors,
 6 employees, consultants, retained experts, and Outside Counsel of Record (and their

 7 support staffs).

 8          2.11 Producing Party: a Party or Non-Party that produces Disclosure or
 9 Discovery Material in this action.

10          2.12 Professional Vendors: persons or entities that provide litigation support
11 services      (e.g., photocopying, videotaping, translating, preparing exhibits or
12 demonstrations, and organizing, storing, or retrieving data in any form or medium) and

13 their employees and subcontractors.

14          2.13 Protected Material:      any Disclosure or Discovery Material that is
15 designated as, referred to or considered “CONFIDENTIAL

16          2.14 Receiving Party: a Party that receives Disclosure or Discovery Material
17 from a Producing Party.
18          3.      SCOPE
19        The protections conferred by this Stipulation and Order cover not only
20 Protected Material (as defined above), but also (1) any information copied or extracted
21 from Protected Material; (2) all copies, excerpts, summaries, or compilations of

22 Protected Material; and (3) any testimony, conversations, or presentations by Parties

23 or their Counsel that might reveal Protected Material. However, the protections
24 conferred by this Stipulation and Order do not cover the following information: (a)
25 any information that is in the public domain at the time of Disclosure to a Receiving
26 Party or becomes part of the public domain after its Disclosure to a Receiving Party

27 as a result of publication not involving a violation of this Order, including becoming

28 part of the public record through trial or otherwise; and (b) any information known to


                                                  3
                                     Joint Stipulation For Protective Order And [Proposed] Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 12 of 23 Page ID
                                   #:2432




 1 the Receiving Party prior to the Disclosure or obtained by the Receiving Party after

 2 the Disclosure from a source who obtained the information lawfully and under no
 3 obligation of confidentiality to the Designating Party.

 4         Any use of Protected Material at trial shall be governed by a separate agreement
 5 or order.

 6           4.     DURATION
 7           Even after final disposition of this litigation, the confidentiality obligations         Deleted: !
                                                                                                      Formatted: Justified, Indent: Left: -0.13", First line: 0.63",
 8 imposed by this Order shall remain in effect until a Designating Party agrees otherwise            Tab stops: Not at 1.05" + 1.05"


 9 in writing or a court order otherwise directs. Final disposition shall be deemed to be

10 the later of (1) dismissal of all claims and defenses in this Action, with or without
11 prejudice; and (2) final judgment herein after the completion and exhaustion of all

12 appeals, rehearings, remands, trials, or reviews of this Action, including the time limits

13 for filing any motions or applications for extension of time pursuant to applicable law.           Deleted: Once a case proceeds to trial, any information that was
                                                                                                      designated “CONFIDENTIAL” or maintained pursuant to this
                                                                                                      protective order and used at trial becomes public and will be
14                                                                                                    presumptively available to all members of the public, including the
           For CONFIDENTIAL information not used at trial, the confidentiality                        press, unless compelling reasons supported by specific factual
15                                                                                                    findings to proceed otherwise are made to the trial judge in advance
     obligations imposed by this Order remain in effect until a Designating Party agrees              of the trial. See Kamakana v. City and County of Honolulu, 447 F.3d
                                                                                                      1172, 1180-81 (9th Cir. 2006) (distinguishing “good cause” showing
16                                                                                                    for sealing documents produced in discovery from “compelling
     otherwise in writing or a court order otherwise directs. Final disposition is the later of       reasons” standard when merits-related documents are part of court
                                                                                                      record). Accordingly, the terms of this protective order do not extend
17
     (1) dismissal of all claims and defenses in this action, with or without prejudice; and          to information used at trial, even if designated “CONFIDENTIAL”
                                                                                                      hereunder, unless a separate order protects such information.
18
     (2) final judgment herein after the completion and exhaustion of all appeals,                    Formatted: Font: 14 pt

19
     rehearings, remands, trials, or reviews of this action, including the time limits for filing
20
     any motions or applications for extension of time pursuant to applicable law.
21
      5.     DESIGNATING PROTECTED MATERIAL
22
             5.1    Exercise of Restraint and Care in Designating Material for Protection.
23
             Each Party or Non-Party that designates information or items for protection
24
     under this Order must take care to limit any such designation to specific material that
25
     qualifies under the appropriate standards. The Designating Party must designate for
26
     protection only those parts of material, documents, items, or oral or written
27
     communications that qualify – so that other portions of the material, documents, items,
28


                                                     4
                                        Joint Stipulation For Protective Order And [Proposed] Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 13 of 23 Page ID
                                   #:2433




 1 or communications for which protection is not warranted are not swept unjustifiably

 2 within the ambit of this Order.
 3        Mass, indiscriminate, or routinized designations are prohibited. Designations
 4 that are shown to be clearly unjustified or that have been made for an improper purpose
 5 (e.g., to unnecessarily encumber or retard the case development process or to impose

 6 unnecessary expenses and burdens on other parties) expose the Designating Party to

 7 sanctions.

 8        If it comes to a Designating Party’s attention that information or items that it
 9 designated for protection do not qualify for protection, that Designating Party must

10 promptly notify all other Parties that it is withdrawing the mistaken designation.
11        5.2     Manner and Timing of Designations.
12        Except as otherwise provided in this Order (see, e.g., second paragraph of
13 section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or Discovery

14 Material that qualifies for protection under this Order must be clearly so designated

15 before the material is disclosed or produced.

16        Designation in conformity with this Order requires:
                                                                                                   Deleted: f
17        (a)     For information in documentary form (e.g., paper or electronic
18 documents, but excluding transcripts of depositions or other pretrial or trial

19 proceedings), that the Producing Party affix the legend “CONFIDENTIAL” to each
20 page that contains protected material. If only a portion or portions of the material on a
21 page qualifies for protection, the Producing Party also must clearly identify the

22 protected portion(s) (e.g., by making appropriate markings in the margins).
                                                                                                   Formatted: Indent: Left: -0.13"
23 (b)      A Party or Non-Party that makes original documents or materials available for
24 inspection need not designate them for protection until after the inspecting Party has
25 indicated which documents or material it would like copied and produced. During the
26 inspection and before the designation, all of the documents or material made available

27 for inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has

28 identified the documents or material it wants copied and produced, the Producing Party


                                                  5
                                     Joint Stipulation For Protective Order And [Proposed] Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 14 of 23 Page ID
                                   #:2434




 1 must determine which documents or material, or portions thereof, qualify for

 2 protection under this Order. Then, before producing the specified documents, the
 3 Producing Party must affix the “CONFIDENTIAL” legend to each page that contains

 4 Protected Material. If only a portion or portions of the material on a page qualifies for
 5 protection, the Producing Party also must clearly identify the protected portion(s) (e.g.,

 6 by making appropriate markings in the margins).

 7 (c)      For testimony given in depositions, that the Designating Party identify the
 8 Disclosure or Discovery Material on the record, before the close of the deposition all

 9 protected testimony.
                                                                                                   Formatted: Indent: Left: -0.13", Outline numbered + Level:
10 (d)      For information produced in form other than document and for any other                 1 + Numbering Style: a, b, c, … + Start at: 1 + Alignment:
                                                                                                   Left + Aligned at: 0" + Indent at: 0"
11 tangible items, that the Producing Party affix in a prominent place on the exterior of

12 the container or containers in which the information is stored the legend

13 “CONFIDENTIAL.”          If only a portion or portions of the information warrants
14 protection, the Producing Party, to the extent practicable, shall identify the protected

15 portion(s).
                                                                                                   Deleted: <#>For Testimony given in depositions the Designating
16        5.3     Inadvertent Failures to Designate.                                               Party shall:¶
                                                                                                   i.! identify on the record, before the close of the deposition, all
17        If timely corrected, an inadvertent failure to designate qualified information or        “CONFIDENTIAL” Testimony, by specifying all portions of the
                                                                                                   Testimony that qualify as “CONFIDENTIAL.” Failure to do so
                                                                                                   shall constitute waiver of confidentiality of the discrete portion of
18 items does not, standing alone, waive the Designating Party’s right to secure protection        testimony at issue. for information produced in some form other
                                                                                                   than documentary and for any other tangible items, that the
                                                                                                   Producing Party affix in a prominent place on the exterior of the
19 under this Order for such material. Upon timely correction of a designation, the                container or containers in which the information or item is stored the
                                                                                                   legend “CONFIDENTIAL.” If only a portion or portions of the
20 Receiving Party must make reasonable efforts to assure that the material is treated in          information or item warrant protection, the Producing Party, to the
                                                                                                   extent practicable, shall identify the protected portion(s).¶

21 accordance with the provisions of this Order.                                                   Deleted: A


22                 6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
23          6.1   Timing of Challenges.       Any party or Non-Party may challenge a
24 designation of confidentiality at any time that is consistent with the Court’s Scheduling
                                                                                                   Deleted: Any Party or Non-Party may challenge a designation of
25 Order.                                                                                          confidentiality at any time. Unless a prompt challenge to a
                                                                                                   Designating Party’s confidentiality designation is necessary to avoid
                                                                                                   foreseeable, substantial unfairness, unnecessary economic burdens,
26          6.2   Meet and Confer. The Challenging Party shall initiate the dispute                or a significant disruption or delay of the litigation, a Party does not
                                                                                                   waive its right to challenge a confidentiality designation by electing
27 resolution process under Local Rule 37.1, et seq.                                               not to mount a challenge promptly after the original designation is
                                                                                                   disclosed.

28


                                                  6
                                     Joint Stipulation For Protective Order And [Proposed] Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 15 of 23 Page ID
                                   #:2435




 1          6.3   The burden of persuasion in any such challenge proceeding shall be on
 2 the Designating Party. Frivolous challenges, and those made for an improper purpose
 3 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may

 4 expose the Challenging Party to sanctions. Unless the Designating Party has waived
 5 or withdrawn the confidentiality designation, all parties shall continue to afford the

 6 material in question the level of protection to which it is entitled under the Producing
                                                                                                   Deleted: by providing written notice of each designation it is
 7 Party’s designation until the Court rules on the challenge.                                     challenging and describing the basis for each challenge. To avoid
                                                                                                   ambiguity as to whether a challenge has been made, the written
                                                                                                   notice must recite that the challenge to confidentiality is being made
 8          7.    ACCESS TO AND USE OF PROTECTED MATERIAL                                          in accordance with this specific paragraph of the Protective Order.
                                                                                                   The parties shall attempt to resolve each challenge in good faith and
 9          Basic Principles. A Receiving Party may use Protected Material that is                 must begin the process by conferring directly (in voice to voice
                                                                                                   dialogue; other forms of communication are not sufficient) within 14
                                                                                                   days of the date of service of notice. In conferring, the Challenging
10 disclosed or produced by another Party or by a Non-Party in connection with this case           Party must explain the basis for its belief that the confidentiality
                                                                                                   designation was not proper and must give the Designating Party an
11 only for prosecuting, defending, or attempting to settle this litigation. Such Protected        opportunity to review the designated material, to reconsider the
                                                                                                   circumstances, and, if no change in designation is offered, to explain
                                                                                                   the basis for the chosen designation. A Challenging Party may
12 Material may be disclosed only to the categories of persons and under the conditions            proceed to the next stage of the challenge process only if it has
                                                                                                   engaged in this meet and confer process first or establishes that the
                                                                                                   Designating Party is unwilling to participate in the meet and confer
13 described in this Order. When the litigation has been terminated, a Receiving Party             process in a timely manner.
                                                                                                   Deleted: <#>Judicial Intervention. If the Parties cannot resolve a
14 must comply with the provisions of section 13 below (FINAL DISPOSITION).                        challenge without court intervention, the Designating Party shall file
                                                                                                   and serve a motion to retain confidentiality under Civil Local Rule 7
15        Protected Material must be stored and maintained by a Receiving Party at a               (and in compliance with Civil Local Rule 79-5, if applicable) within
                                                                                                   21 days of the initial notice of challenge or within 14 days of the
                                                                                                   parties agreeing that the meet and confer process will not resolve
16 location and in a secure manner that ensures that access is limited to the persons              their dispute, whichever is earlier. Each such motion must be
                                                                                                   accompanied by a competent declaration affirming that the movant
17 authorized under this Order.                                                                    has complied with the meet and confer requirements imposed in the
                                                                                                   preceding paragraph. Failure by the Designating Party to make such a
                                                                                                   motion including the required declaration within 21 days (or 14 days,
18        7.2     Disclosure of “CONFIDENTIAL” Information or Items.                     Unless    if applicable) shall automatically waive the confidentiality
                                                                                                   designation for each challenged designation. In addition, the
                                                                                                   Challenging Party may file a motion challenging a confidentiality
19 otherwise ordered by the Court or permitted in writing by the Designating Party, a              designation at any time if there is good cause for doing so, including
                                                                                                   a challenge to the designation of a deposition transcript or any
20 Receiving Party may disclose any information or item designated “CONFIDENTIAL”                  portions thereof. Any motion brought pursuant to this provision must
                                                                                                   be accompanied by a competent declaration affirming that the
                                                                                                   movant has complied with the meet and confer requirements imposed
21 only to::                                                                                       by the preceding paragraph.¶
                                                                                                   The burden of persuasion in any such challenge proceeding shall be
22        a.      The Receiving Party’s Outside Counsel of Record in this Action, as well          on the Designating Party. Frivolous challenges, and those made for
                                                                                                   an improper purpose (e.g., to harass or impose unnecessary expenses
                                                                                                   and burdens on other parties) may expose the Challenging Party to
23 as employees of said Outside Counsel of Record to whom it is reasonably necessary to            sanctions. Unless the Designating Party has waived or withdrawn the
                                                                                                   confidentiality designation by failing to file a motion to retain
                                                                                                   confidentiality as described above, all parties shall continue to afford
24 disclose the information for this Action;                                                       the material in question the level of protection to which it is entitled
                                                                                                   under the Producing Party’s designation until the court rules on the
25        b.      The officers, directors, and employees (including House Counsel) of the          challenge.¶
                                                                                                   Deleted: Information designated as “CONFIDENTIAL” produced
26 Receiving Party to whom disclosure is reasonably necessary for this Action;                     pursuant to this Order may be disclosed or made available only to the
                                                                                                   persons designated below

27        c.      Experts (as defined in this Order) of the Receiving Party to whom
28 disclosure is reasonably necessary for this Action and who have signed the


                                                  7
                                     Joint Stipulation For Protective Order And [Proposed] Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 16 of 23 Page ID
                                   #:2436




 1 “Acknowledgment and Agreement to Be Bound” (Exhibit A);

 2           d.      The Court and its personnel;
 3           e.      Court reporters and their staff;
 4           f. Professional jury or trial consultants, mock jurors, and Professional Vendors
 5 to whom disclosure is reasonably necessary or this Action and who have signed the

 6 “Acknowledgment and Agreement to be Bound” attached as Exhibit A hereto;

 7           g.      The author or recipient of a document containing the information or a
 8 custodian or other person who otherwise possessed or knew the information;

 9           h.      During their depositions, witnesses, and attorneys for witnesses, in the
10 Action to whom disclosure is reasonably necessary provided: (i) the deposing party                 Deleted: <#>Counsel as defined herein;¶
                                                                                                      A Party and its affiliates, officers, directors, agents and employees of
11 requests that the witness sign the “Acknowledgment and Agreement to Be Bound;”                     a Party deemed reasonably necessary by counsel for the Party to aid
                                                                                                      in the prosecution, defense, or settlement of the captioned lawsuit;
12 and (ii) they will not be permitted to keep any confidential information unless they sign          provided, however, that prior to the disclosure of Confidential
                                                                                                      information or items to any such officer, director, partner, member,
                                                                                                      employee or agent, counsel for the Party making the disclosure shall
13 the “Acknowledgment and Agreement to Be Bound,” unless otherwise agreed by the                     deliver a copy of this Stipulation and Protective Order to such person,
                                                                                                      shall explain that such person is bound to follow the terms of such
                                                                                                      Order, and shall secure the signature of such person on a statement in
14 Designating Party or ordered by the Court. Pages of transcribed deposition testimony               the form attached hereto as Appendix A;¶
                                                                                                      Clerical, data processing, or technology support personnel, including
15 or exhibits to depositions that reveal Protected Material may be separately bound by               third party vendors, involved in the production, reproduction,
                                                                                                      organizing, filing, coding, cataloging, converting, storing, retrieving,
                                                                                                      and review of discovery material, to the extent reasonably necessary
16 the court reporter and may not be disclosed to anyone except as permitted under this               to assist a Party or its counsel in the captioned lawsuit;¶
                                                                                                      This Court and any other court, tribunal or dispute resolution officer
                                                                                                      duly appointed, chosen or assigned in connection with the captioned
17 Stipulated Protective Order; and                                                                   lawsuit, their respective personnel, and the jury in the captioned
                                                                                                      lawsuit;¶
18           i. Any mediator or settlement officer, and their supporting personnel, mutually          Court reporter(s) and videographers(s) preparing transcripts in the
                                                                                                      captioned lawsuit; ¶
                                                                                                      Outside consultants or Experts retained for the purpose of this
19 agreed upon by any of the parties engaged in settlement discussions.                               Action, provided that, before access is given, the Party shall deliver a
                                                                                                      copy of this Stipulation and Protective Order to such person, shall
20   8.   PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN                                        explain that such person is bound to follow the terms of such Order,
                                                                                                      and shall secure the signature of such person on a statement in the
                                                                                                      form attached hereto as Appendix A. It shall be the obligation of
21        OTHER LITIGATION                                                                            Counsel, upon learning of any breach or threatened breach of this
                                                                                                      Stipulation and Protective Order by any such Expert or outside
                                                                                                      consultant, to promptly notify Counsel for the Designating Party of
22           If a Party is served with a subpoena or a court order that compels disclosure of         such breach or threatened breach;¶
                                                                                                      A witness appearing at a deposition or as a non-trial hearing witness
23   any information or items designated in this action as “CONFIDENTIAL,” that Party                 in this matter; provided, however, that each such witness given
                                                                                                      access to Confidential information or items shall be advised that such
                                                                                                      materials are being Disclosed pursuant to, and are subject to, the
24   must:                                                                                            terms of this Stipulation and Protective Order and that they may not
                                                                                                      be Disclosed other than pursuant to its terms;¶
25                (a)      promptly notify the Designating Party in writing, including a              The original author or source of the Confidential Information, and
                                                                                                      any addressee(s) or recipient(s) of communications or material that is
                                                                                                      designated as Confidential Information, including but not limited to
26 copy of the subpoena or court order;                                                               addressee(s) or recipient(s) of Confidential e-mail communications
                                                                                                      and/or Confidential correspondence; ¶
                                                                                                      Any other person as to whom the parties in writing agree or to whom
27                (b)      promptly notify in writing the party who caused the subpoena or            production is ordered by any Court or administrative body of
                                                                                                      competent jurisdiction; and¶
28 order to issue that some or all of the material covered by the subpoena or order is                Any governmental agency or regulating authority to the extent
                                                                                                      disclosure is required by applicable law.¶



                                                     8
                                        Joint Stipulation For Protective Order And [Proposed] Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 17 of 23 Page ID
                                   #:2437




 1 subject to this Protective Order. Such notification shall include a copy of this Stipulated

 2 Protective Order; and
 3              (c)      cooperate with respect to all reasonable procedures sought to be
 4 pursued by the Designating Party whose Protected Material may be affected.
                                                                                                    Formatted: Indent: Left: -0.13", No bullets or numbering
 5 If the Designating Party timely seeks a protective order, the Party served with the

 6 subpoena or court order shall not produce any information designated in this action as

 7 “CONFIDENTIAL” before a determination on such protective order request by the

 8 court or tribunal from which the subpoena or order issued, unless the Party has obtained

 9 the Designating Party’s permission. The Designating Party shall bear the burden and

10 expense of seeking protection in that court of its confidential material. Nothing in these
11 provisions should be construed as authorizing or encouraging a Receiving Party in this

12 action to disobey a lawful directive from another court.

13   9.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
14        IN THIS LITIGATION
                                                                                                    Formatted: Indent: Left: -0.13"
15 (a)      The terms of this Order are applicable to information produced by a Non-Party
16 in this action and designated as “CONFIDENTIAL.” Such information produced by

17 Non-Parties in connection with this litigation is protected by the remedies and relief
18 provided by this Order. Nothing in these provisions should be construed as prohibiting

19 a Non-Party from seeking additional protections.
20 (b)      In the event that a Party is required, by a valid discovery request, to produce a
21 Non-Party’s confidential information in its possession, and the Party is subject to an

22 agreement with the Non-Party not to produce the Non-Party’s confidential

23 information, then the Party shall:
24                 (1) promptly notify in writing the Requesting Party and the Non-Party
25 that some or all of the information requested is subject to a confidentiality agreement
26 with a Non-Party;

27                 (2) promptly provide the Non-Party with a copy of the Stipulated
28 Protective Order in this litigation, the relevant discovery request(s), and a reasonably


                                                   9
                                      Joint Stipulation For Protective Order And [Proposed] Order
 Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 18 of 23 Page ID
                                    #:2438




 1 specific description of the information requested; and

 2                  (3) make the information requested available for inspection by the Non-
 3 Party.
                                                                                                     Formatted: Indent: First line: 0"
 4 (c)       If the Non-Party fails to object or seek a protective order from this court within
 5 14 days of receiving the notice and accompanying information, the Receiving Party

 6 may produce the Non-Party’s confidential information responsive to the discovery

 7 request. If the Non-Party timely seeks a protective order, the Receiving Party shall not

 8 produce any information in its possession or control that is subject to the confidentiality

 9 agreement with the Non-Party before a determination by the court. Absent a court

10 order to the contrary, the Non-Party shall bear the burden and expense of seeking
11 protection in this court of its Protected Material.

12   10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
13          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
14 Protected Material to any person or in any circumstance not authorized under this

15 Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing

16 the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve

17 all unauthorized copies of the Protected Material, (c) inform the person or persons to
18 whom unauthorized disclosures were made of all the terms of this Order, and (d)

19 request such person or persons to execute the “Acknowledgment and Agreement to Be
20 Bound” that is attached hereto as Exhibit A.
21   11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
22          PROTECTED MATERIAL
23          When a Producing Party gives notice to Receiving Parties that certain
24 inadvertently produced material is subject to a claim of privilege or other protection,
25 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
26 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure

27 may be established in an e-discovery order that provides for production without prior

28 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the


                                                   10
                                       Joint Stipulation For Protective Order And [Proposed] Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 19 of 23 Page ID
                                   #:2439




 1 parties reach an agreement on the effect of disclosure of a communication or

 2 information covered by the attorney-client privilege or work product protection, the
 3 parties may incorporate their agreement in the stipulated protective order submitted to

 4 the court.
 5   12. MISCELLANEOUS
 6        12.1     Right to Further Relief. Nothing in this Order abridges the right of any
 7 person to seek its modification by the court in the future.

 8        12.2     Right to Assert Other Objections. By stipulating to the entry of this
 9 Protective Order, no Party waives any right it otherwise would have to object to

10 disclosing or producing any information or item on any ground not addressed in this
11 Stipulated Protective Order. Similarly, no Party waives any right to object on any

12 ground to use in evidence of any of the material covered by this Protective Order.

13        12.3     Filing Protected Material. A Party that seeks to file under seal any
14 Protected Material must comply with Civil Local Rule 79-5. Protected Material may

15 only be filed under seal pursuant to a court order authorizing the sealing of the specific

16 Protected Material at issue. If a Party's request to file Protected Material under seal is

17 denied by the Court, then the Receiving Party may file the information in the public
                                                                                                   Deleted: Without written permission from the Designating Party or
18 record unless otherwise instructed by the Court.                                                a court order secured after appropriate notice to all interested
                                                                                                   persons, a Party may not file in the public record in this action any
                                                                                                   Protected Material. A Party that seeks to file under seal any Protected
19        12.4     Any Party to the Proceeding who has not executed this Stipulation and           Material must comply with Civil Local Rule 79-5. Protected Material
                                                                                                   may only be filed under seal pursuant to a court order authorizing the
20 Protective Order as of the time it is presented to the Court for signature may thereafter       sealing of the specific Protected Material at issue. Pursuant to Civil
                                                                                                   Local Rule 79-5, a sealing order will issue only upon a request
                                                                                                   establishing that the Protected Material at issue is privileged,
21 become a Party to this Stipulation and Protective Order by its counsel’s signing and            protectable as a trade secret, or otherwise entitled to protection under
                                                                                                   the law. If a Receiving Party's request to file Protected Material under
22 dating a copy thereof and filing the same with the Court, and serving copies of such            seal pursuant to Civil Local Rule 79-5(d) is denied by the court, then
                                                                                                   the Receiving Party may file the information in the public record
                                                                                                   pursuant to Civil Local Rule 79-5(e) unless otherwise instructed by
23 signed and dated copy upon the other Parties to this Stipulation and Protective Order.          the court.


24        12.5     Nothing in this Stipulation and Protective Order shall affect the
25 admissibility   into evidence of documents or material properly designated
26 “CONFIDENTIAL” or abridge the rights of any person to seek judicial review or to

27 pursue other appropriate judicial action with respect to any ruling made by the Court

28


                                                 11
                                     Joint Stipulation For Protective Order And [Proposed] Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 20 of 23 Page ID
                                   #:2440




 1 concerning the issue of the status of any documents or material properly designated

 2 “CONFIDENTIAL.”
 3        12.6    After this Stipulation and Protective Order has been signed by Counsel
 4 for all Parties, it shall be presented to the Court for entry. Counsel agree to be bound
 5 by the terms set forth herein with regard to any documents or material properly

 6 designated “CONFIDENTIAL” that have been produced before the Court signs this

 7 Stipulation and Protective Order.

 8        12.7    The Parties and all signatories to the Certification attached hereto as
 9 Exhibit A agree to be bound by this Stipulation and Protective Order pending its

10 approval and entry by the Court. In the event that the Court modifies this Stipulation
11 and Protective Order, or in the event that the Court enters a different Protective Order,

12 the Parties agree to be bound by this Stipulation and Protective Order until such time

13 as the Court may enter such different Order. It is the Parties’ intent to be bound by the

14 terms of this Stipulation and Protective Order pending its entry so as to allow for

15 immediate      production    of   documents       or    material    properly      designated
16 “CONFIDENTIAL” under the terms herein.

17   13. FINAL DISPOSITION
                                                                                                   Deleted: paragraph
18        Within 60 days after the final disposition of this action, as defined in Section 4,
19 each Receiving Party must return all Protected Material to the Producing Party or
20 destroy such material. As used in this subdivision, “all Protected Material” includes all
21 copies, abstracts, compilations, summaries, and any other format reproducing or

22 capturing any of the Protected Material. Whether the Protected Material is returned or

23 destroyed, the Receiving Party must submit a written certification to the Producing
24 Party (and, if not the same person or entity, to the Designating Party) by the 60 day
25 deadline that (1) identifies (by category, where appropriate) all the Protected Material
26 that was returned or destroyed and (2) affirms that the Receiving Party has not retained

27 any copies, abstracts, compilations, summaries or any other format reproducing or

28 capturing any of the Protected Material. Notwithstanding this provision, Counsel are


                                                 12
                                     Joint Stipulation For Protective Order And [Proposed] Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 21 of 23 Page ID
                                   #:2441




 1 entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and

 2 hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits,
 3 expert reports, attorney work product, and consultant and expert work product, even if

 4 such materials contain Protected Material. Any such archival copies that contain or
 5 constitute Protected Material remain subject to this Protective Order as set forth in

 6 Section 4 (DURATION).

 7        This Stipulation and Protective Order may be executed in counterparts.
 8

 9        IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
10 DATED: ____________________             ________________________________
                                              James L. Greeley
11                                            Diyari Vázquez
                                              Gina Simas
12                                            Attorneys for Plaintiff
                                              JOSEPH DIAZ, JR.
13

14

15 DATED: ____________________             ________________________________
                                              Eric S. Montalvo
16                                            Rajan O. Dhungana
                                              Attorneys For Defendants
17                                            RALPH HEREDIA AND
                                              HEREDIA BOXING MANAGEMENT
18

19
20        PURSUANT TO STIPULATION, IT IS SO ORDERED.
21 DATED: ____________________             ________________________________
                                              Honorable Kenly Kiya Kato
22                                            United States District Court
                                              Central District of California
23
24
25
26

27

28


                                                  13
                                      Joint Stipulation For Protective Order And [Proposed] Order
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 22 of 23 Page ID
                                   #:2442




 1                                       EXHIBIT A
 2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3        I, _____________________________           [print or    type   full name], of
 4 ____________________________________ [print or type full address], declare under

 5 penalty of perjury that I have read in its entirety and understand the Stipulated

 6 Protective Order that was issued by the United States District Court for the Central

 7 District of California on ___________________in the case of Joseph Diaz, Jr. v. Ralph
 8 Heredia et al., Case No. Case No. 5:20-cv-02332- JWH-KK. I agree to comply with

 9 and to be bound by all the terms of this Stipulated Protective Order and I understand

10 and acknowledge that failure to so comply could expose me to sanctions and

11 punishment in the nature of contempt. I solemnly promise that I will not disclose in

12 any manner any information or item that is subject to this Stipulated Protective Order

13 to any person or entity except in strict compliance with the provisions of this Order.

14        I further agree to submit to the jurisdiction of the United States District Court
15 for the Central District of California for the purpose of enforcing the terms of this

16 Stipulated Protective Order, even if such enforcement proceedings occur after
17 termination of this action.

18        I hereby appoint __________________________ [print or type full name] of
19 _______________________________________ [print or type full address and

20 telephone number] as my California agent for service of process in connection with

21 this action or any proceedings related to enforcement of this Stipulated Protective

22 Order.
23
24 Date: ______________________________________
25 City and State where sworn and signed: _________________________________

26

27 Printed name: _______________________________
28 Signature: __________________________________
                                               14
Case 5:20-cv-02332-JWH-KK Document 113-13 Filed 05/16/22 Page 23 of 23 Page ID
                                   #:2443




                               CERTIFICATE OF SERVICE
 1
                                                                                               Deleted: March 16, 2022
 2        I, Diyari Vázquez, hereby certify that on May 4, 2022, I electronically filed the
 3 foregoing with the Clerk of the Court using the CM/ECF system, which will send

 4 notification of such filing to the e-mail addresses denoted on the Electronic Mail Notice

 5 List, and I hereby certify that I have mailed the foregoing document to the non-

 6 CM/ECF participants indicated on the Manual Notice List.

 7
                                                                                               Deleted: March 16, 2022
 8 Dated: May 4, 2022                 By:    /s/
 9                                                 Diyari Vázquez

10

11

12

13

14
15

16
17

18

19

20

21

22
23
24
25

26

27
28
                                                   15
